UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WISCONSIN

Jeremy Martin

Plaintiff,
Vv. Case No. 20-cev-01567

Optimum Outcomes, Inc

Defendant.

 

 

NOTICE OF VOLUNTARY DISMISSAL
Plaintiff Jeremy Martin hereby requests that the Court dismiss Plaintiffs claims with
prejudice as to Defendant Optimum Outcomes, Inc., and with all rights of appeal waived, all

parties to bear their own fees and costs.

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